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11   MICRON TECHNOLOGY, INC.
12

13                              UNITED STATES DISTRICT COURT

14                            NORTHERN DISTRICT OF CALIFORNIA

15

16   MICRON TECHNOLOGY, INC.,                       Case No. 4:17-CV-06932-MMC
                Plaintiff,
17       v.                                         [PROPOSED] STIPULATED ORDER
                                                    RE: DISCOVERY PROPOUNDED ON
18                                                  UNITED MICROELECTRONICS
     UNITED MICROELECTRONICS                        CORP. AND UMC GROUP (USA)
19   CORPORATION, FUJIAN JINHUA
     INTEGRATED CIRCUIT CO., LTD., and
20   DOES 1-10,
                 Defendants.
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                                                        [Proposed] Stipulated Order Re: Discovery Propounded on
                                                                                   UMC and UMC Group (USA)
                                                                                 Case No. 4:17-CV-06932-MMC
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 1           This matter came on for hearing before the Honorable Robert M. Illman, on June 21,
 2   2018, in connection with the parties’ disputes (Dkt. 57) concerning the scope of jurisdictional
 3   discovery permitted under the District Judge’s Order of April 23, 2018 (Dkt. 53). Counsel for
 4   Plaintiff Micron Technology, Inc. (“Micron”), Defendant United Microelectronics Corp.
 5   (“UMC”), and non-party UMC Group (USA) presented argument. Judge Illman issued rulings
 6   from the bench and instructed the parties to meet-and-confer in an effort to reach agreement on
 7   implementation of the Court’s rulings. Following their meet-and-confer, the Court presided over
 8   the continuation of the hearing where the parties stated on the record the agreements reached
 9   during their discussions and sought further direction from the Court under the Court’s rulings.
10   After providing further clarification of rulings, Judge Illman adjourned the proceedings with
11   instructions that counsel jointly submit a proposed Order formalizing his rulings and the parties’
12   subsequent agreements.
13           The parties hereby submit their proposed Order in accordance with Judge Illman’s rulings.
14   The Court’s rulings, to which the parties hereby stipulate, are set forth below.
15   I.      REQUESTS REGARDING MICRON DOCUMENTS IN UMC’S POSSESSION
16           A.     Micron’s Requests for Production to UMC, Nos. 1-6
17           UMC shall produce the non-privileged documents responsive to these requests that UMC
18   is able to locate in its possession, custody, or control after a reasonable search (particularly of the
19   files associated with Stephen Chen, J.T. Ho, and Kenny Wang, but without exclusion of other
20   individuals that UMC becomes aware during the reasonable search) to the extent such documents
21   relate to downloaded Micron documents related to the trade-secret allegations in Micron’s
22   Complaint.
23           B.     Micron’s Rule 30(b)(6) Topics to UMC, Nos. 1-5
24           UMC shall designate a witness qualified to testify on its behalf with respect to these topics
25   insofar as the topics address downloaded Micron documents that UMC is able to locate in its
26   possession, custody, or control after a reasonable search to the extent that such documents relate
27   to the trade-secret allegations in Micron’s Complaint.
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                                                                 [Proposed] Stipulated Order Re: Discovery Propounded on
                                                                                            UMC and UMC Group (USA)
                                                     -2-                                  Case No. 4:17-CV-06932-MMC
          Case 3:17-cv-06932-MMC Document 71 Filed 06/28/18 Page 3 of 6



 1   II.     REQUESTS REGARDING UMC RECRUITING IN THE UNITED STATES
 2           A.     Micron’s Requests for Production to UMC, Nos. 13-14
 3           UMC agreed to investigate whether there were agreements responsive to these requests to

 4   the extent such agreements relate to any recruiting obligations of UMC for the UMC-Jinhua

 5   DRAM project that involve UMC Group (USA). After a reasonable search, UMC has determined

 6   that no such agreements exist.

 7           B.     Micron’s 30(b)(6) Topics to UMC, No. 10
 8           UMC agreed to investigate whether there were agreements relating to recruiting

 9   obligations of UMC for the UMC-Jinhua DRAM project that involve UMC Group (USA). After

10   a reasonable search, UMC has determined that no such agreements exist, and therefore no witness

11   will be provided on this topic.

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                                                             [Proposed] Stipulated Order Re: Discovery Propounded on
                                                                                        UMC and UMC Group (USA)
                                                  -3-                                 Case No. 4:17-CV-06932-MMC
       Case 3:17-cv-06932-MMC Document 71 Filed 06/28/18 Page 4 of 6



 1          With regard to disputed requests not addressed in this Order, at this time neither UMC nor
 2   UMC Group (USA) is required to produce documents or designate a Rule 30(b)(6) deponent
 3   beyond the terms to which they have already agreed in their respective written responses to
 4   Micron’s discovery and in briefing to the Court (Dkt. 57, Exs. 1-3).
 5          IT IS SO STIPULATED, through Counsel of Record.
 6   Dated: June 28, 2018                             JONES DAY
 7

 8                                                    By: /s/ Marcus S. Quintanilla
                                                         Marcus S. Quintanilla
 9
                                                      Attorneys for Plaintiff
10                                                    MICRON TECHNOLOGY, INC.
11   Dated: June 28, 2018                             DAN JOHNSON LAW GROUP, LLP
12
                                                      By: /s/ Daniel Johnson, Jr.
13                                                       Daniel Johnson, Jr.
14                                                    Attorneys for Defendant
                                                      UNITED MICROELECTRONICS
15                                                    CORPORATION
16                                                ORDER
17          IT IS SO ORDERED.
18   DATED: _____________                         _____________________________________
                                                  The Hon. Robert M. Illman
19
                                                  United States Magistrate Judge
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                                                              [Proposed] Stipulated Order Re: Discovery Propounded on
                                                                                         UMC and UMC Group (USA)
                                                   -4-                                 Case No. 4:17-CV-06932-MMC
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 1                                       FILER’S ATTESTATION
 2          Pursuant to Civil Local Rule 5.1, of the United States District Court of the Northern
 3   District of California, I certify that authorization for the filing of this document has been obtained
 4   from the other signatory shown above and that said signatory has authorized placement of his
 5   electronic signature on this document.
 6   Dated: June 28, 2018
 7                                                  /s/ Marcus S. Quintanilla
 8                                                  Marcus S. Quintanilla
                                                    mquintanilla@jonesday.com
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                                                     -5-                                 Case No. 4:17-CV-06932-MMC
       Case 3:17-cv-06932-MMC Document 71 Filed 06/28/18 Page 6 of 6



 1                                   CERTIFICATE OF SERVICE
 2           I hereby certify that a true and correct copy of the above and foregoing document has been
 3   served on June 28, 2018 to all counsel of record who are deemed to have consented to electronic
 4   service via the Court’s CM/ECF system.
 5           Executed on June 28, 2018, at San Diego, California.
 6
                                                      /s/ Marcus S. Quintanilla
 7                                                    Marcus S. Quintanilla
 8                                                    mquintanilla@jonesday.com

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                                                              [Proposed] Stipulated Order Re: Discovery Propounded on
                                                                                         UMC and UMC Group (USA)
                                                   -6-                                 Case No. 4:17-CV-06932-MMC
